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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                                 CASE NO.: 1:16-cv-20194-DPG

  LYNN McCULLOUGH and
  WILLIAM McCULLOUGH,

                Plaintiffs,
  v.

  ROYAL CARIBBEAN CRUISES, LTD.,
  RAIN FOREST ADVENTURES
  (HOLDINGS) LTD., ELITE SHORE
  EXCURSIONS FOUNDATION,
  RAIN FOREST SKY RIDES, LTD.,
  RAIN FOREST TRAM, LTD., et al.,

              Defendants.
  ____________________________________/

                                     FINAL JUDGMENT
         THIS CAUSE came before the Court on Plaintiffs’ Motion for Final Judgment on

  Arbitration Award Pursuant to this Court's Order on April 27, 2018 Referring the Case to

  Binding Arbitration (the “Motion”) [ECF No. 434]. The Court granted the Motion in a

  separate Order [ECF No. 435]. Pursuant to Rule 58(a) of the Federal Rules of Civil

  Procedure, the Court enters this separate final judgment. Accordingly, it is

         ORDERED and ADJUDGED that final judgment is entered in favor of Plaintiffs,

  Lynn Renee McCullough and William Frank McCullough, and against Defendants, Rain

  Forest Adventures (Holdings) Ltd., Rain Forest Tram, Ltd., Rain Forest Sky Rides, Ltd., and

  Harald Joachim von der Goltz, jointly and severally:

         1.     As to Lynn Renee McCullough, judgment for each of the amounts itemized

  below, totaling $60,831,952.13, jointly and severally against Defendants, Rain Forest

  Adventures (Holdings) Ltd., Rain Forest Tram, Ltd., Rain Forest Sky Rides, Ltd., and Harald

  Joachim von der Goltz, as provided below:
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                           DAMAGE CATEGORY                      JUDGMENT
                                                                 AMOUNT
                Past Medicals                                   $1,122.824.08
                Future Medicals                                 $3,352,462.64
                Gratuitous Services                              $431,905.41
                Optimal Home and Other Care                     $1,133,610.00
                Un-itemized Certain Future Medical Care         $1,889,350.00
                Needs
                Bodily Injury                                   $7,557,400.00
                Pain & Suffering                                $7,557,400.00
                Disability Physical Impairment                  $7,557,400.00
                Disfigurement                                   $7,557,400.00
                Mental Anguish                                  $7,557,400.00
                Inconvenience                                   $7,557,400.00
                Loss of Capacity for Enjoyment of Life          $7,557,400.00

                TOTAL                                          $60,831,952.13

        2.     As to William Frank McCullough, judgment for the itemized amount listed

  below, totaling $5,668,047.87, jointly and severally against Defendants, Rain Forest

  Adventures (Holdings) Ltd., Rain Forest Tram, Ltd., Rain Forest Sky Rides, Ltd., and

  Harald Joachim von der Goltz, as provided below:


                          DAMAGE CATEGORY                      JUDGMENT
                                                                AMOUNT
                Loss of Consortium                              $5,668,047.87

                TOTAL                                           $5,668,047.87

        DONE AND ORDERED in Chambers at Miami, Florida, this 12th day of July, 2018.




                                          ________________________________
                                          DARRIN P. GAYLES
                                          UNITED STATES DISTRICT JUDGE
